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AO 2458 (Mod. D/NJ 12/06) Sheet 1 -Judgment in a Criminal Case


                                        UNITED STATES DISTRICT COURT
                                              District of New Jersey

UNITED STATES OF AMERICA

         v.                                                              Case Number       2:10cr802-1

JOSE CRUZ BASTIDAS

        Defendant.

                                               JUDGMENT IN A CRIMINAL CASE
                                      (For Offenses Committed On or After November 1, 1987)


          The defendant, JOSE CRUZ BASTIDAS, was represented by John Yauch, AFPD, Esq.

         The defendant pled guilty to count(s) one of the Indictment on 22 February 2011. Accordingly, the court has adjudicated
that the defendant is guilty of the following offense(s):
                                                                                                                    Count
Title & Section                     Nature of Offense                                      Date of Offense          Number(s)

21:846                              Conspiracy to Distribute and Possess W/1 to            9/1/1 0 to 9/8/1 0
                                    Distribute Cocaine(21 :841 (a)(1 )(b)(1 )(A))

        As pronounced on 6 May 2013, the defendant is sentenced as provided in pages 2 through § of this Judgment. The
sentence is imposed pursuant to the Sentencing Reform Act of 1984.

       It is ordered that the defendant shall pay to the United States a special assessment of $100., for count(s), which shall be
due immediately. Said special assessment shall be made payable to the Clerk, U.S. District Court.

          It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this Judgment are fully
paid. If ordered to pay restitution, the defendant shall notify the court and United States Attorney of any material change in the
defendant's economic circumstances.

          Signed this the __§__ day of May, 2013.




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AO 2458 (Mod. D/NJ 12/06) Sheet 2 - Imprisonment


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Defendant:         JOSE CRUZ BASTIDAS
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                                                          IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
37 Months, Defendant to receive credit for time spent since the date of his arrest..

         The defendant shall remain in custody pending service of sentence.




                                                            RETURN

         I have executed this Judgment as follows:




   Defendant delivered on~~~~~~~~~~~To~~~~~~~~~~~~~~~~~~~~~~
At~~~~~~~~~~~~~~~~~~~~~~~~~· wrth acertffied copyofthisJudgment.


                                                                                United States Marshal

                                                                              By ________________
                                                                                    Deputy Marshal
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AO 2458 (Mod. D/NJ 12/06) Sheet 3- Supervised Release


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Defendant:         JOSE CRUZ BASTIDAS
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                                                        SUPERVISED RELEASE

         Upon release from imprisonment, the defendant shall be placed on supervised release for a term of 3 years.

         Within 72 hours of release from custody of the Bureau of Prisons, the defendant shall report in person to the Probation
Office in the district to which the defendant is released.

         While on supervised release, the defendant shall comply with the standard conditions that have been adopted by this court
as set forth below.

         The defendant shall submit to one drug test within 15 days of commencement of supervised release and at least two tests
         thereafter as determined by the probation officer.

         If this judgment imposes a fine, special assessment, costs, or restitution obligation, it shall be a condition of supervised
release that the defendant pay any such fine, assessments, costs, and restitution that remains unpaid at the commencement of the
term of supervised release and shall comply with the following special conditions:

While on supervised release, the defendant shall not commit another federal, state, or local crime, shall be prohibited from
possessing a firearm or other dangerous device, shall not possess an illegal controlled substance and shall comply with the other
standard conditions that have been adopted by this Court. The defendant must submit to one drug test within 15 days of
commencement of supervised release and at least two tests thereafter as determined by the probation officer.

In addition, the defendant shall comply with the following special conditions:

         ALCOHOL/DRUG TESTING AND TREATMENT

         You shall refrain from the illegal possession and use of drugs, including prescription medication not prescribed in your
         name, and the use of alcohol, and shall submit to urinalysis or other forms of testing to ensure compliance. It is further
         ordered that you shall submit to evaluation and treatment, on an outpatient or inpatient basis, as approved by the U.S.
         Probation Office. You shall abide by the rules of any program and shall remain in treatment until satisfactorily discharged
         by the Court. You shall alert all medical professionals of any prior substance abuse history, including any prior history of
         prescription drug abuse. The Probation Officer shall supervise your compliance with this condition.

         COOPERATION WITH IMMIGRATION AND CUSTOMS ENFORCEMENT

         You shall cooperate with Immigration and Customs Enforcement to resolve any problems with your status in the United
         States. You shall provide truthful information and abide by the rules and regulations of Immigration and Customs
         Enforcement. If deported, you shall not re-enter the United States without the written permission of the Attorney General.
         If you re-enter the United States, you shall report in person to the nearest U.S. Probation Office within 48 hours.

         MENTAL HEALTH TREATMENT

         You shall undergo treatment in a mental health program approved by the United States Probation Office until discharged
         by the Court. As necessary, said treatment may also encompass treatment for gambling, domestic violence and/or anger
         management, as approved by the United States Probation Office, until discharged by the Court. The Probation Officer shall
         supervise your compliance with this condition.
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AO 2458 (Mod. D/NJ 12/06) Sheet 3a- Supervised Release


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                                       STANDARD CONDITIONS OF SUPERVISED RELEASE

      While the defendant is on supervised release pursuant to this Judgment:

1)    The defendant shall not commit another federal, state, or local crime during the term of supervision.

2)    The defendant shall not illegally possess a controlled substance.

3)    If convicted of a felony offense, the defendant shall not possess a firearm or destructive device.

4)    The defendant shall not leave the judicial district without the permission of the court or probation officer.

5)    The defendant shall report to the probation officer in a manner and frequency directed by the Court or probation officer.

6)    The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.

7)    The defendant shall support his or her dependents and meet other family responsibilities.

8)    The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or
      other acceptable reasons.

9)    The defendant shall notify the probation officer within seventy-two hours of any change in residence or employment.

10)   The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute or administer any
      narcotic or other controlled substance, or any paraphernalia related to such substances.

11) The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.

12) The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
    convicted of a felony unless granted permission to do so by the probation officer.

13) The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation
    of any contraband observed in plain view by the probation officer.

14) The defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
    officer.

15) The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
    the permission of the court.

16) As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
    criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
    confirm the defendant's compliance with such notification requirement.

(17) You shall cooperate in the collection of DNA as directed by the Probation Officer.

      (This standard condition would apply when the current offense or a prior federal offense is either a felony, any offense under
      Chapter 109A of Title 18 (i.e., §§ 2241-2248, any crime of violence [as defined in 18 U.S. C. § 16], any attempt or conspiracy
      to commit the above, an offense under the Uniform Code of Military Justice for which a sentence of confinement of more than
      one year may be imposed, or any other offense under the Uniform Code that is comparable to a qualifying federal offense);

(18) Upon request, you shall provide the U.S. Probation Office with full disclosure of your financial records, including co-mingled
     income, expenses, assets and liabilities, to include yearly income tax returns. With the exception of the financial accounts
     reported and noted within the presentence report, you are prohibited from maintaining and/or opening any additional individual
     and/or joint checking, savings, or other financial accounts, for either personal or business purposes, without the knowledge
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AO 2458 (Mod. D/NJ 12/06) Sheet 3a - Supervised Release


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     and approval of the U.S. Probation Office. You shall cooperate with the Probation Officer in the investigation of your financial
     dealings and shall provide truthful monthly statements of your income. You shall cooperate in the signing of any necessary
     authorization to release information forms permitting the U.S. Probation Office access to your financial information and records;

(19) As directed by the U.S. Probation Office, you shall participate in and complete any educational, vocational, cognitive or any
     other enrichment program offered by the U.S. Probation Office or any outside agency or establishment while under supervision;

(20) You shall not operate any motor vehicle without a valid driver's license issued by the State of New Jersey, or in the state in
     which you are supervised. You shall comply with all motor vehicle laws and ordinances and must report all motor vehicle
     infractions (including any court appearances) within 72 hours to the U.S. Probation Office;


l __________ ForO~m~eOn~-~U.S~roba~nO~e _ _ _ _ _ _ _ _ _ ~
    Upon a finding of a violation of probation or supervised release, I understand that the Court may (1) revoke
 supervision or (2) extend the term of supervision and/or modify the conditions of supervision.

    These conditions have been read to me. I fully understand the conditions, and have been provided a copy of
 them.

    You shall carry out all rules, in addition to the above, as prescribed by the Chief U.S. Probation Officer, or any
 of his associate Probation Officers.

                                      (Signed) - - - - - - - - - - - - - - - - - - - - - - - - - -
                                                           Defendant                      Date



                                                     U.S. Probation Officer/Designated Witness              Date

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